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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


CRAIG CUNNINGHAM,                                §
                                                 §
              Plaintiff,                         §
                                                 §
v.                                               §    Case No. 3:16-CV-02880-M
                                                 §
STUDENT LOAN ASSISTANCE                          §
CENTER, LLC, ET AL.                              §
                                                 §
              Defendants.                        §

                                            ORDER

       Before the Court is a Motion to Dismiss Without Prejudice [ECF #17], filed by Plaintiff

Craig Cunningham. The Motion is GRANTED pursuant to Fed. R. Civ. P. 41(a)(2), and Plaintiff’s

claims and causes of action against Defendants Student Loan Assistance Center, LLC and SL Doc

Servicing LLC, are hereby DISMISSED without prejudice.

       SO ORDERED.

       September 20, 2017.

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                                                         BARBARA M. G. LYNN
                                                         CHIEF JUDGE




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